
41 So.3d 392 (2010)
Peter HERNANDEZ, Appellant,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Appellee.
No. 1D10-1413.
District Court of Appeal of Florida, First District.
July 30, 2010.
Peter Hernandez, pro se, Appellant.
Kathleen Von Hoene, General Counsel, Department of Corrections, Tallahassee, for Appellee.
PER CURIAM.
The appeal is hereby DISMISSED. See Odham v. Mouat, 484 So.2d 95, 96 (Fla. 1st DCA 1986). This dismissal is without prejudice to the appellant's right to timely *393 seek review upon rendition of a final order. See Fla. R.App. P. 9.110(h).
WOLF, KAHN, and VAN NORTWICK, JJ., concur.
